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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Lola Austin,                            )
                                        )
       Plaintiff,                       )
                                        )
       v.                               )          No.    13 C 5049
                                        )
Mercantile Adjustment Bureau, LLC, a )
New York limited liability company, and )
Main Street Acquisition Corp., a Nevada )
corporation,                            )
                                        )
       Defendants.                      )          Jury Demanded

                                        COMPLAINT

       Plaintiff, Lola Austin, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt collection

actions violated the FDCPA, and to recover damages for Defendants’ violations of the

FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendants reside and transact business here.

                                          PARTIES

       3.      Plaintiff, Lola Austin ("Austin"), is a citizen of the State of Texas, from

whom Defendants attempted to collect a delinquent consumer debt that she allegedly

owed for a Household Bank credit card account, despite the fact that she was

represented by the legal aid attorneys at the Chicago Legal Clinic's Legal Advocates for
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Seniors and People with Disabilities program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, Mercantile Adjustment Bureau, LLC (“Mercantile”), is a New

York limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. Mercantile operates a nationwide debt collection

business and attempts to collect debts from consumers in virtually every state, including

consumers in the State of Illinois. In fact, Defendant Mercantile was acting as a debt

collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

       5.     Defendant, Main Street Acquisition Corp. (“Main Street"), is a Nevada

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect, directly

or indirectly, delinquent consumer debts. Main Street operates a nationwide delinquent

debt collection business, and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. In fact, Defendant Main Street was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       6.     Defendant Main Street is a bad debt buyer that buys large portfolios of

defaulted consumer debts for pennies on the dollar, which it then collects upon through

other collection agencies, such as Defendant Mercantile.

       7.     Defendants Mercantile and Main Street are authorized to conduct

business in Illinois, and maintain registered agents here, see, records from the Illinois

Secretary of State, attached as Group Exhibit A. In fact, both Mercantile and Main

Street conduct substantial and extensive business in Illinois.



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       8.     Moreover, Defendants Mercantile and Main Street are each licensed as

collection agencies in Illinois, see, records from the Illinois Division of Professional

Regulation, attached as Group Exhibit B. In fact, Mercantile and Main Street both act

as debt collection agencies in Illinois.

                                   FACTUAL ALLEGATIONS

       9.     Ms. Austin is a senior citizen, with limited assets and income, who fell

behind on paying her bills, including a debt she owed originally for a Household Bank

credit card. At some point in time after that debt became delinquent, Defendant Main

Street bought/obtained Ms. Austin’s Household Bank debt, and when Defendants began

trying to collect this debt from her, by sending her a collection letter, dated September

30, 2011, she sought the assistance of legal aid attorneys at the Chicago Legal Clinic’s

LASPD program, regarding her financial difficulties and Defendants’ collection actions.

A copy of Defendants letter is attached as Exhibit C.

       10.    Accordingly, on December 19, 2011, one of Ms. Austin's attorneys at

LASPD informed Defendants that Ms. Austin was represented by counsel, and directed

Defendants to cease contacting her, and to cease all further collection activities

because Ms. Austin was forced, by her financial circumstances, to refuse to pay her

unsecured debt. Copies of this letter and fax confirmation are attached as Exhibit D.

       11.    Nonetheless, Defendants sent Ms. Austin a collection letter, dated April

30, 2013, demanding payment of the Household Bank debt. A copy of this collection

letter is attached as Exhibit E.

       12.    Accordingly, on June 6, 2013, Ms. Austin's LASPD attorney had to send

Defendants yet another letter, directing them to cease communications and to cease



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collections. Copies of this letter and fax confirmation are attached as Exhibit F.

       13.    Defendants’ collection actions complained of herein occurred within one

year of the date of this Complaint.

       14.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       15.    Plaintiff adopts and realleges ¶¶ 1-14.

       16.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

       17.    Here, the letter from Ms. Austin's agent/attorney, LASPD, told Defendants

to cease communications and cease collections (Exhibit D). By continuing to

communicate regarding this debt and demanding payment (Exhibit E), Defendants

violated § 1692c(c) of the FDCPA.

       18.    Defendants’ violation of § 1692c(c) of the FDCPA renders them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                    COUNT II
                   Violation Of § 1692c(a)(2) Of The FDCPA --
             Communicating With A Consumer Represented By Counsel

       19.    Plaintiff adopts and realleges ¶¶ 1-14.



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      20.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      21.    Defendants knew, or readily could have known, that Ms. Austin was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendants, in writing, that Ms. Austin was represented by counsel, and

had directed a cessation of communications with Ms. Austin (Exhibit D). By directly

sending Ms. Austin a collection letter (Exhibit E), despite being advised that she was

represented by counsel, Defendants violated § 1692c(a)(2) of the FDCPA.

      22.    Defendants’ violation of § 1692c(a)(2) of the FDCPA renders them liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15

U.S.C. § 1692k.

                                  PRAYER FOR RELIEF

      Plaintiff, Lola Austin, prays that this Court:

      1.     Find that Defendants’ debt collection actions violated the FDCPA;

      2.     Enter judgment in favor of Plaintiff Lola Austin, and against Defendants,

for actual and statutory damages, costs, and reasonable attorneys’ fees as provided by

§ 1692k(a) of the FDCPA; and,

      3.     Grant such further relief as deemed just.

                                     JURY DEMAND

      Plaintiff, Lola Austin, demands trial by jury.




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                                                     Lola Austin,

                                                     By: /s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: July 15, 2013

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